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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS

DONGGUAN GUANYI                                        )
LIGHT-DECORATION CO., LTD.,                            )
                                                       )
         Plaintiff,                                    )
                                                       )
         v.                                            )
                                                       )       JURY TRIAL DEMANDED
THE PARTNERSHIPS AND                                   )
UNINCORPORATED ASSOCIATIONS                            )
IDENTIFIED ON SCHEDULE A,                              )
                                                       )
         Defendants.                                   )


                                           COMPLAINT

         Dongguan Guanyi Light-Decoration Co., Ltd. (“Guanyi”), by and through its attorneys,

hereby brings the present action against the Partnerships and Unincorporated Associations

identified on Schedule A attached hereto (collectively, “Defendants”) and alleges as follows.



                                  JURISDICTION AND VENUE

         1.      This Court has original jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§ 1331 and 1338(a)–(b).

         2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, internet e-commerce stores 1 operating under the seller aliases identified

in Schedule A attached hereto (collectively, the “Defendant Internet Stores”). Specifically,




1
    URL links of these e-commerce defendant internet stores are listed on Schedule A hereto.


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Defendants have targeted sales to Illinois residents by setting up and operating e-commerce stores

that target United States consumers, offer shipping to the United States, including Illinois, accept

payment in U.S. dollars, and, on information and belief, have sold products featuring Plaintiff’s

patented design to residents of Illinois. Each of the Defendants is committing tortious acts in

Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiff substantial injury

in the State of Illinois.

        3.      Joinder of the Defendants is proper pursuant to 35 U.S.C. § 299 as the Defendants

are all offering for sale the same or similar infringing product and this case will involve common

questions of fact to all Defendants and the Defendants’ infringing acts arise out of the same

transaction, occurrence, or series of transactions or occurrences related to the making, using,

importing into the United States, offering for sale, or selling of the same or similar accused product

or process.



                                        INTRODUCTION

        4.      This action has been filed by Guanyi to combat online infringers who trade upon

Guanyi’s patented design by making, using, offering for sale, selling, and/or importing into the

United States for subsequent sale or use of the same unauthorized and unlicensed product, namely

the string light products (“the Infringing Products”), that infringe Plaintiff’s United States Patent

US 11,408,585 (“the ‘585 Patent”).

        5.      Defendants create e-commerce stores that are making, using, offering for sale,

selling, and/or importing into the United States for subsequent sale or use Infringing Products to

unknowing consumers. E-commerce stores share unique identifiers establishing a logical

relationship between them, suggesting that Defendants’ operation arises out of the same




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transaction, occurrence, or series of transactions or occurrences. Defendants attempt to avoid and

mitigate liability by operating under one or more Defendant Internet Stores to conceal both their

identities and the full scope and interworking of their operation. Guanyi has filed this action to

combat Defendants’ infringement of its patented design, as well as to protect unknowing

consumers from purchasing Infringing Products over the Internet. Guanyi has been and continues

to be irreparably damaged from the loss of its lawful patent rights to exclude others from making,

using, selling, offering for sale, and importing its patented design as a result of Defendants’ actions

and seeks injunctive and monetary relief.



                                             PARTIES

       6.      Plaintiff Dongguan Guanyi Light-Decoration Co., Ltd. is a Chinese company

founded on December 6, 2016. Its principal place of business is at Hongchang Road, Qishi Town,

Dongguan City, Guangdong Province, China.

       7.      Guanyi has been engaged in the business of designing, manufacturing, and

marketing lighting products including, but not limited to, string light products (collectively, the

“Guanyi Products”) for backyard porch and/or balcony deck decoration, especially in holiday

seasons. Guanyi Products include various lighting products including, but not limited to, C7 light

strings, C9 light strings, G30 light strings, G40 light strings, G50 light strings, S14 light strings,

E26 Light strings, C7 LED bulbs, C9 LED bulbs, LED mini light strings, LED light string, power

cords, extension cords, and lighting accessories (clips, plugs, light stakes, et cetera). Guanyi

Products can be purchased from e-commerce platforms, such as Alibaba.com and guanyilight.com

(Guanyi’s own website), as well as from retailors, resellers, and/or importers selling Guayi

Products on Amazon, eBay, AliExpress, Alibaba, Walmart, Target, and other websites. Since at




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least 2017, Guanyi, on its own and/or via retailors, resellers, and/or importers, has marketed,

advertised, promoted, exported, and/or sold Guanyi Products to consumers in the United States.

       8.     Guanyi’s light string products are loved by customers at least because of its unique

patented design claimed in the ‘585 Patent, where, among other unique claimed features, a water

discharge port 8 is formed on one side of the lamp holder 5 and a gap 7 is arranged between the

lamp holder 5 and the bulb 6 such that water may be discharged automatically when entering the

lamp from the circumferential gap 7 during rainy days, thus solving the issue of light string

products failing in bad weather and making string light products waterproof.

  Patent                                                                                 Issue
                                     Representative Figure
 Number                                                                                  Date




    US                                                                                 August 9,
11,408,585                                                                              2022




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          9.    Guanyi is the lawful assignee of all right, title, and interest in and to United States

Patent US 11,408,585 (“the ‘585 Patent”), entitled WATERPROOF AND SHATTERPROOF

LIGHT STRING. The ‘585 Patent was duly and legally issued on August 9, 2022 and names

Shifang Wang as the sole inventor. Attached as Exhibit 1 is a true and accurate copy of the ‘585

Patent.

          10.   Defendants are individuals and business entities of unknown makeup who own

and/or operate one or more of the e-commerce stores under at least the Defendant Internet Stores

identified on Schedule A and/or other Defendant Internet Stores not yet known to Guanyi. On

information and belief, Defendants reside and/or operate in the People’s Republic of China or other

foreign jurisdictions with lax intellectual property enforcement systems, or redistribute products

from the same or similar sources in those locations. Defendants have the capacity to be sued

pursuant to Federal Rule of Civil Procedure 17(b).

          11.   On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Defendant Internet Stores listed in Schedule A attached

hereto. Tactics used by Defendants to conceal their identities and the full scope of their operation

make it virtually impossible for Guanyi to discover Defendants’ true identities and the exact

interworking of their network. If Defendants provide additional credible information regarding

their identities, Guanyi will take appropriate steps to amend the Complaint.




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                          DEFENDANTS’ UNLAWFUL CONDUCT

        12.    Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Defendant Internet Stores,

offer shipping to the United States, including Illinois, accept payment in U.S. dollars and/or funds

from U.S. bank accounts, and, on information and belief, have sold Infringing Products to residents

of Illinois.

        13.    Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of online marketplaces and

user accounts. On information and belief, Defendants regularly create new online marketplace

accounts on various platforms using the identities listed in Schedule A to the Complaint, as well

as other unknown fictitious names and addresses. Such Defendant Internet Store registration

patterns are one of many common tactics used by the Defendants to conceal their identities, the

full scope and interworking of their operation, and to avoid being shut down.

        14.    Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores demonstrating a series of interrelated

acts of infringement. The Defendant Internet Stores are believed to include notable common

features beyond selling the exact same infringing products, including the same or similar product

images, the accepted payment methods, check-out methods, meta data, illegitimate SEO tactics,

lack of contact information, identically or similarly priced items and volume sales discounts,

similar hosting services, and the use of the same text and images.

        15.    In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online infringers use a variety of other common tactics to

evade enforcement efforts. For example, infringers like Defendants will often register new online




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marketplace accounts under new aliases once they receive notice of a lawsuit. Infringers also

typically ship products in small quantities via international mail to minimize detection by U.S.

Customs and Border Protection.

        16.     On information and belief, e-commerce store operators like Defendants are also in

constant communication with each other and regularly participate in QQ.com chat rooms and

through websites such as sellerdefense.cn and kuajingvs.com regarding tactics for operating

multiple accounts, evading detection, pending litigation, and potential new lawsuits.

        17.     Further, infringers such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of plaintiffs’ enforcement efforts, such as take down notices. On

information and belief, Defendants maintain off-shore bank accounts and regularly move funds

from their PayPal accounts or other financial accounts to off-shore bank accounts outside the

jurisdiction of this Court.

        18.     Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully offered for sale, sold, and/or imported into the United States for subsequent resale or

use, products that infringe directly and/or indirectly the ‘585 Patent, and continue to do so via the

Defendant Internet Stores. Each Defendant Internet Store offers shipping to the United States,

including Illinois, and, on information and belief, each Defendant has sold Infringing Products into

the United States, including Illinois.

        19.     Defendants’ infringement of the ‘585 Patent in the offering to sell, selling, and/or

importing of the Infringing Products was willful.




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       20.      Defendants’ infringement of the ‘585 Patent in connection with the offering to sell,

selling, and/or importing of the Infringing Products, including the offering for sale and sale of

Infringing Products into Illinois, is irreparably harming Plaintiff.



                                              COUNT I

                                 (Infringement of the ‘585 Patent)

       21.      Guanyi repeats and realleges each of the preceding paragraphs as though fully set

forth herein.

       22.      Defendants are working in active concert to knowingly and willfully manufacture,

import, distribute, offer for sale, and/or sell infringing products in the same transaction,

occurrence, or series of transactions or occurrences. Defendants, without any authorization or

license from Plaintiff, have jointly and severally, knowingly and willfully, offered for sale, sold,

and/or imported into the United States for subsequent resale or use the product that infringes

directly and/or indirectly the ‘585 Patent.

       23.      Specifically, Defendants have infringed and continue to infringe at least claim 1 of

the ‘585 Patent by making, using, importing, selling, and/or offering to sell their infringing

products in the United States without authorization or license from Plaintiffs.

       24.      Defendants have profited by their infringement of the ‘585 Patent, and Plaintiffs

have suffered actual harm as a result of Defendants’ infringement.

       25.      Defendants have infringed the ‘585 Patent and will continue to do so unless

enjoined by this Court. Defendants’ wrongful conduct has caused Guanyi to suffer irreparable

harm resulting from the loss of its lawful patent rights to exclude others from making, using,




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selling, offering for sale, and importing the patented invention. Guanyi is entitled to injunctive

relief pursuant to 35 U.S.C. § 283.

        26.     Guanyi is entitled to recover damages adequate to compensate for the infringement

as appropriate pursuant to 35 U.S.C. § 284.



                                         PRAYER FOR RELIEF

        WHEREFORE, Dongguan Guanyi Light-Decoration Co., Ltd. requests judgement against

Defendants as follows:

        A.      That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily, preliminarily, and permanently enjoined and restrained from: (1) making, using,

offering for sale, selling, and/or importing into the United States for subsequent sale or use the

Infringing Product; (2) aiding, abetting, contributing to, or otherwise assisting anyone in making,

using, offering for sale, selling, and/or importing into the United States for subsequent sale or use

the Infringing Product; and (3) effecting assignment or transfer, forming new entities or

associations, or utilizing any other device for the purpose of circumventing or otherwise avoiding

prohibitions set forth in (1) and (2);

        B.      Entry of an Order that, upon Guanyi’s request, those with notice of the injunction,

including, without limitation, any online marketplace platforms, including but not limited to

Amazon, eBay, AliExpress, Alibaba, Walmart, Target, and other websites (collectively, the “Third

Party Providers”), shall disable and cease displaying any advertisements used by or associated with

Defendants in connection with the sale of the Infringing Product;




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       C.       That Guanyi be awarded such damages as it shall prove at trial against Defendants

that are adequate to compensate Guanyi for Defendants’ infringement of the ‘585 Patent, but in no

event less than a reasonable royalty for the use made of the invention by Defendants, together with

interest and costs, pursuant to 35 U.S.C. § 284;

       D.       That the amount of damages awarded to Guanyi to compensate Guanyi for

infringement of the ‘585 Patent be increased by three times the amount thereof, as provided by 35

U.S.C. § 284;

       E.       That Guanyi be awarded its reasonable attorneys’ fees and costs; and

       F.       Award any and all other relief that this Court deems just and proper.




Dated: October 23, 2023                       Respectfully submitted,

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